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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                              Case No. 8:04-cr-348-T-24 TGW

 RONALD J. TRUCCHIO

 _______________________________/

                                               ORDER
        This cause comes before the Court on Defendant Trucchio’s Emergency Motion to
 Reconsider Amended Order Dated September 27, 2006 For Defendant To Be Represented By
 Counsel of Choice. (Doc. No. 500). Specifically, Defendant Trucchio moves the Court to
 reconsider the portion of its September 27, 2006 order in which it states that the trial in this case
 will begin on October 16, 2006. A brief background of the pretrial events in this case is
 appropriate based on some of the representations in Defendant Trucchio’s motion.
 BACKGROUND
        Defendant Trucchio is charged along with six co-defendants in a multi-count
 racketeering conspiracy indictment. (Doc. No. 231). The indictment was filed on August 17,
 2004; however, Defendant Trucchio was not arrested until October 6, 2005.
        On October 21, 2005, Joseph Corozzo filed a motion for special admission to practice
 and designation of George Vila as local counsel. (Doc. No. 281). On October 28, 2005, the
 Court granted the motion, allowing Joseph Corozzo, whose office is in New York City, New
 York, to appear specially on behalf of Defendant Trucchio, based in part on the written
 designation of George Vila, who certified that he was a member of the Bar of the Middle District
 of Florida and consented to the designation as local counsel. (Doc. No. 287). In consenting to
 be local counsel, George Vila consented to “be responsible for the progress of the case, including
 the trial in default of the non-resident attorney.” Local Rule 2.02(a).
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        On March 3, 2006, the case was set for a time certain trial–October 2, 2006. (Doc. No.
 399). The case was set for a definite time because of the number of defendants, the length of the
 trial and the number of witnesses who were anticipated to testify on behalf of the Government.
 The Government estimated the length of its case-in-chief at six to eight weeks.
        On September 26, 2006, six days prior to the start of trial, the Court held the final status
 conference and required that all counsel be present. (Doc. No. 485). Four defendants remained
 set for trial. George Vila appeared at the status conference on behalf of Defendant Trucchio.
 (Doc. No. 485). At the status conference, Mr. Vila advised the Court that Joseph Corozzo was in
 trial before Judge Kimba Wood in the Southern District of New York and that he expected the
 trial to last another two weeks. (Doc. No. 485). The Court had not been informed that Mr.
 Corozzo would not be prepared to proceed to trial on October 2, 2006 until the morning of the
 September 26, 2006 status conference. Neither Mr. Vila nor Mr. Corozzo had filed a motion to
 continue based on unavailability.
        At the status conference, George Vila informed the Court that he would not be prepared
 to proceed to trial on October 2, 2006. At the status conference, the Court informed all counsel
 that the trial would not begin on October 2, 2006, but the trial would begin later in October at a
 time to be set after the Court had spoken with Judge Kimba Wood and Joseph Corozzo. (Doc.
 No. 485).
        The following morning, September 27, 2006, the Court spoke by telephone with Joseph
 Corozzo and George Vila and informed them that the trial in this case would be continued for
 two weeks and would begin on October 16, 2006. The Court further informed Mr. Vila that if
 Mr. Corozzo had not concluded his trial in the Southern District of New York by that date, Mr.
 Vila would be expected as local counsel to try the case on behalf of Defendant Trucchio until
 such time as Mr. Corozzo was available.




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 DISCUSSION
        Defendant Trucchio cites United States v. Koblitz, 803 F.2d 1523 (11th Cir 1986), in
 support of his argument that the Court must continue the trial in this case. The Court rejects this
 argument, because the facts of Koblitz are clearly distinguishable from those in this case.
        In Koblitz, the district court held defense counsel in contempt for failing to appear at trial
 or obtain substitute counsel for their clients. See id. at 1526. The issue before the appellate
 court was whether the district court had the discretion to order defense counsel to obtain
 substitute counsel for their clients. See id. at 1527. In the instant case, it is not necessary for
 Defendant Trucchio to obtain substitute counsel, since he has retained counsel, George Vila, who
 has represented him since the inception of this case and who is available to proceed to trial on
 October 16, 2006.
        This Court notes:
        [T]he Constitution requires that a criminal defendant have a fair or reasonable
        opportunity to obtain particular counsel, and [suffer from] no arbitrary action
        prohibiting the effective use of such counsel. The right to counsel of choice is not
        absolute. It must be balanced against the government's interest in the fair,
        orderly, and effective administration of the courts which, in a given case, may
        require an accused to resort to his second choice of counsel. In giving effect to
        this governmental interest, however, a trial judge must be mindful that acting in
        the name of calendar control, [he] cannot arbitrarily and unreasonably interfere
        with a client's right to be represented by the attorney [the client] has selected.
 Id. at 1528 (internal quotations and citations omitted). Furthermore:

        [T]he proper exercise of the trial court's discretion . . . requires a delicate balance
        between the defendant's right to adequate representation by counsel of his choice
        and the general interest in the prompt and efficient administration of justice.
        Indeed, in light of the myriad scheduling burdens that a court faces in assembling
        the witnesses, lawyers, and jurors at the same place at the same time, the Supreme
        Court has counseled that broad discretion must be granted trial courts on matters
        of continuances; only an unreasoning and arbitrary insistence upon
        expeditiousness in the face of a justifiable request for delay violates the right to
        assistance of counsel.




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 United States v. Zangwill, 2006 WL 2805644, at *3 (11th Cir. Oct. 2, 2006)(internal quotations

 and citations omitted). Therefore, in determining whether a denial of a continuance impinges

 upon a defendant's fair and reasonable opportunity to choose counsel, a court should consider the

 following factors: “‘(1) the length of the delay; (2) whether the counsel who becomes

 unavailable for trial has associates prepared to try the case; (3) whether other continuances have

 been requested and granted; (4) the inconvenience to all involved in the trial; (5) whether the

 requested continuance is for a legitimate reason; and (6) any unique factors.’” Id. (quoting U.S.

 v. Baker, 432 F.3d 1189, 1248 (11th Cir. 2005)).

        Upon consideration of these factors, the Court finds that a further continuance is not

 warranted. With regards to the length of the requested delay, the trial was set to begin October

 2, 2006, and Mr. Corozzo and Mr. Vila now request that the trial be moved to “early November”

 so that Mr. Corozzo can complete the case in which he is currently representing a client in the

 Southern District of New York. However, there is no assurance that Mr. Corozzo’s current trial

 will in fact be completed by “early November,” since that trial was supposed to be completed in

 September and that did not occur. Furthermore, if the Court delayed the start of the trial until

 November, the trial would likely continue through the December holiday season (since the

 Government estimates that its case-in-chief will last six to eight weeks), and it would be nearly

 impossible to find jurors that did not have out-of-town holiday plans that were willing and able

 to serve on a six to eight week jury trial.

        Furthermore, with regards to whether Mr. Corozzo has associates prepared to try the

 case, the Court notes that George Vila is not new to this case, nor is he court appointed. He has

 been local counsel since October 21, 2005. Mr. Vila is presumed to be familiar with Local Rule


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 2.02(a) pertaining to special admission of a non-resident attorney, which requires him to be

 responsible for the trial in default of the non-resident attorney–Joseph Corozzo. Both Mr. Vila

 and Mr. Corozzo knew or should have known that Joseph Corozzo would be unable to try the

 case beginning on October 2, 2006 weeks in advance of the status conference on September 26,

 2006 when the Court was finally advised.

        Additionally, with regards to the inconvenience to all involved in the trial, this case was

 set for trial for a time certain seven months in advance of the scheduled trial date. Four

 defendants currently remain set for trial. The Government has numerous witnesses who have

 been scheduled to testify based on the scheduled trial date. In addition, security concerns have

 caused special arrangements to be made for certain witnesses. One hundred additional jurors

 were specially summoned based on the scheduled trial date. Other counsel, as well as the Court,

 have adjusted their schedules based on the scheduled trial date. Thus, there will be great

 inconvenience if the Court continues the trial until Mr. Corozzo is available, especially given the

 fact that it is impossible to determine exactly when he will be available.

        The Court also notes that Mr. Corozzo and Mr. Vila delayed in informing the Court about

 Mr. Corozzo’s scheduling conflict. At no time before the September 26, 2006 status conference

 did they inform the Court of the potential or actual conflict. However, counsel had an ethical

 obligation to advise both the judge in the Middle District of Florida and the judge in the

 Southern District of New York of the scheduling predicament, but they chose not to do so. See




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  Koblitz, 802 F.2d at 1530. In fact, the instant motion is Mr. Corozzo and Mr. Vila’s first filed

  motion for a continuance, and this motion was not filed until October 4, 2006.1

         This Court has delayed the beginning of this trial for two weeks from the original

  October 2, 2006 start date in order to accommodate counsel for Defendant Trucchio and give Mr.

  Vila additional time to prepare. The Court has a responsibility to balance the needs of all the

  parties, including the Government and the other defendants, and the right of those parties to be

  able to rely on the certainty of a trial date set seven months in advance. As such, Defendant

  Trucchio’s motion is denied.

  CONCLUSION

         Accordingly, it is ORDERED AND ADJUDGED that Defendant Trucchio’s Emergency

 Motion to Reconsider Amended Order Dated September 27, 2006 For Defendant To Be

 Represented By Counsel of Choice (Doc. No. 500) is DENIED.

         DONE AND ORDERED at Tampa, Florida, this 5th day of October, 2006.




 Copies to:
 Counsel of Record




     1
      This motion was originally filed on October 3, 2006, but it was
stricken because it was unsigned.

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